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                                                                                        22-08404MB

                                 AFFIDAVIT IN SUPPORT OF
                                     AN APPLICATION

       I, Adam Renner, being first duly sworn, hereby depose and state as follows:
                       INTRODUCTION AND AGENT BACKGROUND

       1.         I make this affidavit in support of an application under Rule 41 of the Federal
Rules of Criminal Procedure for a warrant to search the person known as Michael
MUNGIA-Rodriguez, further described in Attachment A for the things described in
Attachment B.

       2.         I am an investigator or law enforcement officer of the United States within
the meaning of 18 U.S.C. § 2510(7), and am empowered by law to conduct investigations
of, and to make arrests for, offenses enumerated in 18 U.S.C. § 2516.

       3.         I am a Special Agent with the Department of Homeland Security (DHS), U.S.
Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI). I have
been assigned to the office of the Deputy Special Agent in Charge (DSAC) Tucson, Arizona (AZ)
since March 2010. As a Special Agent with HSI, I am responsible for investigating and enforcing
violations of Federal law to include the enforcement of Federal narcotics laws, Immigration laws,
the Money Laundering Control Act, and various Customs Violations.

       4.         I graduated from the Criminal Investigator Training Program and the HSI Special
Agent Training Program, both of which are conducted at the Federal Law Enforcement Training
Center (FLETC) in Glynco, Georgia. At this institution, I received specialized training to include,
but not limited to, the following areas: narcotics investigations, immigration investigations, fraud
investigations,     cyber   investigations,   import/export   investigations,   child    pornography
investigations, financial investigations, firearms training, defensive tactics, surveillance and
undercover operations. Prior to joining HSI, I was a Border Patrol Agent assigned to the Tucson
Sector Special Operations Group since 1997. In 2007 I attended the Immigration and Customs
Enforcement Immigration Academy also held at the Federal Law Enforcement Training Center in
Glynco, Georgia.
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       5.      During my tenure with HSI, I have participated in and led investigations involving
the unlawful importation and distribution of controlled substances. I have conducted physical
surveillance, reviewed recorded conversations and records of drug traffickers. My responsibilities
include conducting investigations into drug smuggling organizations and individuals who derive
substantial income from the illegal importation, manufacture, distribution and sale of controlled
substances. As a Special Agent, I am responsible for investigating and enforcing violations of
federal law to include the enforcement of federal drug laws, the Money Laundering Control Act,
and various Customs and Immigration violations.

       6.      The facts in this affidavit come from my personal observations, my training
and experience, and information obtained from other agents and witnesses. This affidavit
is intended to show merely that there is sufficient probable cause for the requested warrant
and does not set forth all of my knowledge about this matter.

       7.      For the reasons detailed below, I believe that there is probable cause to
believe that the person of Michael MUNGIA-Rodriguez contains evidence, fruits, and
instrumentalities of violations of 21 U.S.C. §§ 841 and 846; possession with the intent to
distribute controlled substances and conspiracy to possess with the intent to distribute
controlled substances.

                                     PROBABLE CAUSE

       8.      At approximately 1900 hours on January 3, 2022, MUNGIA presented himself for
inspection at the Nogales, DeConini Port of Entry Pedestrian gate. MUNGIA was referred to
secondary inspection based on my alert. A pedestrian certified K-9 handler was requested to run a
search of MUNGIA. MUNGIA was asked if he had anything hidden on his person, which he
denied. MUNGIA stated that he had intestinal parasites/worms and had gone to Nogales, Sonora,
Mexico to pick up some pills to treat the parasites/worms and was returning home to Tucson,
Arizona. The K-9, which is trained in the detection of controlled substances, alerted to MUNGIA’s
groin area. At approximately 1920 hours, Supervisory CBP Officer Branden Stoliker approved
pat down and partial body search of MUNGIA’s rectal area. CBPOs Jeffery Le and Francis

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Sanoguet conducted the partial body search in which CBPO Le and Sanoguet noticed a “white
string protruding from his rectum” after MUNGIA attempted to cover his rectal area in order to
prevent the CBP officers from inspecting his rectum. Based on my training and experience, I know
that drug trafficking organizations (DTOs) frequently rely on the use of body carriers to import
controlled substances into the United States. During the recent health pandemic, DTOs have relied
heavily on the use of body carriers due to the reduction in cross-border vehicle traffic.

       9.      At approximately 2200 hours, MUNGIA was transported to Holy Cross hospital in
Nogales, Arizona. Once admitted, the attending ER physician independently ordered x-rays which
revealed a large balloon like object that contained several small, pill shaped objects concealed in
his anal cavity. MUNGIA refused all further medical intervention which would allow MUNGIA
to pass the package. MUNGIA was advised by Holy Cross medical doctors and nurses as well as
SCBPO Stoliker that if the package contains narcotics and it bursts, he could die. MUNGIA
continues to refuse to have a bowel movement.

       10.     Based on the foregoing, I respectfully submit there is probable cause to
believe that MUNGIA is engaged in drug trafficking as a body carrier and that evidence of
this criminal activity is likely to be found in his person.
                                         CONCLUSION

       11.     I submit that this affidavit supports probable cause for a warrant to search the
person described in Attachment A and seize the items described in the Attachment B.

       12.     I respectfully request that the search warrant permit law enforcement agents
to execute the search by authorizing medical personnel to administer potentially lifesaving
medical interventions allowing MUNGIA to have bowel movement to remove the
suspected contraband from his anal cavity due to the inherent risk involved in keeping a
controlled substance within an internal body cavity for an extended period of time.




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                                    REQUEST FOR SEALING

       13.    It is respectfully requested that this Court issue an order sealing, until further
order of the Court, all papers submitted in support of this application, including the
application and search warrant. I believe that sealing this document is necessary because
the items and information to be seized are relevant to an ongoing investigation into the
criminal organizations as not all of the targets of this investigation will be searched at this
time. Based upon my training and experience, I have learned that online criminals actively
search for criminal affidavits and search warrants via the Internet, and disseminate them to
other online criminals as they deem appropriate, i.e., post them publicly online through the
carding forums.     Premature disclosure of the contents of this affidavit and related
documents may have a significant and negative impact on the continuing investigation and
may severely jeopardize its effectiveness.
                                                                           Digitally signed by ADAM S
                                                   ADAM S RENNER RENNER
                                                                 Date: 2022.01.04 12:48:19 -07'00'

                                                   Adam Renner, Special Agent
                                                   Homeland Security Investigations

Electronically submitted, subscribed, and telephonically sworn to me on this                    4th
day of January, 2022.




                                                   D. THOMAS FERRARO
                                                   United States Magistrate Judge
                                                   District of Arizona




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